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				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2023 OK 65Case Number: SCBD-7491Decided: 06/12/2023As Corrected: June 19, 2023THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2023 OK 65, __ P.3d __

				

FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 
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IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2023 DUES


ORDER OF SUSPENSION FOR NONPAYMENT OF DUES


On May 25, 2023, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of Oklahoma Bar Association members who failed to pay dues for the year 2023 as required by the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011, ch. 1, app. 1, art. VIII, §1. The Board of Governors recommended that the members whose names appear on the Exhibit A attached to the Application be suspended from membership in the Oklahoma Bar Association and from the practice of law in the State of Oklahoma, as provided by the Rules, 5 O.S. 2011, ch. 1, app. 1, art. VIII, §2.
This Court finds that on April 15, 2023, the Executive Director of the Oklahoma Bar Association notified by certified mail all members delinquent in the payment of dues and/or expense charges to the Oklahoma Bar Association for the year 2023. The Board of Governors have determined that the members set forth in Exhibit A, attached hereto, have not paid their dues and/or expense charges for the year as provided in the Rules.
This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from the Oklahoma Bar Association membership and shall not practice law in the State of Oklahoma until reinstated.
IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to pay membership dues for the year 2023 as required by the Rules Creating and Controlling the Oklahoma Bar Association.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 12TH DAY OF JUNE, 2023.

/S/CHIEF JUSTICE

ALL JUSTICES CONCUR.

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OBA # 33463Brooke Lindsay Ballard313 Terrell AveBremerton, WA 98312-3719
OBA # 30192Elise Schuller Barajas1601 Elm St Ste 4600Dallas, TX 75201-7212
OBA # 35287Rhett Wayne Bartlett300 W 15th StAustin, TX 78701
OBA # 31923Edward Joseph Batis Jr.3 SerenaSan Antonio, TX 78248-2440
OBA # 20028David James Bedford925 NW 6th StOklahoma City, OK 73106-7242
OBA # 675Thomas Prade BellamyPO Box 553Blair, OK 73526-0553
OBA # 22492Katherine Lindsay Bendick1901 Churchill WayOklahoma City, OK 73120-1149
OBA # 22065Amber Jean Bighorse2301 N Narrows Dr.Tacoma, WA 98406-1622
OBA # 32177Staci Deborah Cassidy5080 Spectrum Drive1020 W AddisonAddison, TX 75001
OBA # 10460Elizabeth Riley Castleberry3813 Woodshadow RdEdmond, OK 73003-3046
OBA # 1675Mark D. Christiansen6208 Waterford Blvd Apt 100Oklahoma City, OK 73118-1113
OBA # 35097Jacob Nicholas Denne1320 12th Ave SE Unit 2204Norman, OK 73071-2560
OBA # 14070Glenna S. DorrisLegal Aid Services of OK3851 Tuxedo Blvd Ste EBartlesville, OK 74006-2519
OBA # 22552Blaine Michael Dyer16328 Muirfield PlEdmond, OK 73013-9145
OBA # 22935Peter Gay Estes IIIPO Box 3883Fayetteville, AR 72702-3883
OBA # 20052Kevin D. EtheringtonPayne County District Attorney's Office606 S. Husband, Room 111Stillwater, OK 74074-4044
OBA # 20200Geoffrey Allan Evans7335 Musselburgh DrFrisco, TX 75036-1057
OBA # 34660Degol Tseggai Gherezghiher2341 NW 198th StEdmond, OK 73012-5220
OBA # 32782Clare Glynis Gibbons4000 One Williams CtrTulsa, OK 74172-0148
OBA # 19466Raphael Thomas Glapion433 N Air Depot Blvd Apt 7Midwest City, OK 73110-1722
OBA # 18068Todd Brian Gollihare18778 S 257th West AveBristow, OK 74010-2233
OBA # 33354Jordan Lee Harmon1135 S Birmingham PlTulsa, OK 74104-3926
OBA # 4184Curley Higgins420 S Lawton Ave Apt 517Tulsa, OK 74127-8929
OBA # 14351Robert Earl Jones Jr.1819 Rolling Hills StNorman, OK 73072-6707
OBA # 11125Theodore Koss Jr.10604 Admiral DrOklahoma City, OK 73162-6806
OBA # 5240John V. LarencePO Box 58113Louisville, KY 40268-0113
OBA # 12788Kathryn D. Mansell7500 E Britton RdOklahoma City, OK 73151-9424
OBA # 30158Jobby Chathanattu Mathew6031 Connection DrIrving, TX 75039-2613
OBA # 21985David Norris Mayo2301 N Narrows DrTacoma, WA 98406-1622
OBA # 14274Sheryl Diane McCoy-Strowbridge4325 Rob LnJoplin, MO 64804-5357
OBA # 12400Donna Dee McLain1301 N McKinley AveSand Springs, OK 74063-7729
OBA # 32831Matthew Ryan McRorie4640 Olde Village CirEdmond, OK 73013-4767
OBA # 20287Robbin Raye Miranda2700 NW 154th StEdmond, OK 73013-8808
OBA # 6463Logan Vansen Moss126 Senora CtSaint Augustine, FL 32095-4838
OBA # 10420Steven Gordon Nash4901 Richmond Sq Ste 104Oklahoma City, OK 73118-2000
OBA # 10422Sue Ann Nicely4624 NW 58th StOklahoma City, OK 73122-7706
OBA # 10431Gary L. Parrish10300 Greenbriar PlOklahoma City, OK 73159-7653
OBA # 21462Tamara Schiffner Pullin1 Firstcomm PlzFort Worth, TX 76109-4978
OBA # 13339Michael Christopher Radmilovich4922 E 38th PlTulsa, OK 74135-5529
OBA # 20829Casey Lee SaundersPO Box 2318Ada, OK 74821-2318
OBA # 13771Michele Lynn Schultz211 W Main StWeatherford, OK 73096-4838
OBA # 15951Esther Elaine ScottPO Box 815Healdton, OK 73438-0815
OBA # 8178Clifford Byron Shilling109 S West St Apt 6Stillwater, OK 74074-3037
OBA # 18837anell Lynn Smalts10301 Sedge Grass WayHighlands Ranch, CO 80129-6675
OBA # 30258Ryan Houston Smith3620 Meadow Lark LnOklahoma City, OK 73120-8935
OBA # 10973Cliff A. Stark10004 S Louisville AveTulsa, OK 74137-5221
OBA # 20547Debra Stump18239 Canyon Forest CtChesterfield, MO 63005-1441
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